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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 RALPH G. POTENTE, RICHARD J. JANKURA,

                                    Plaintiffs,
                                                                             MEMORANDUM OF
                           - against -                                       DECISION AND ORDER
                                                                             16-cv-3969 (ADS)(AYS)
 CITIBANK, N.A.,

                                     Defendant.
 -----------------------------------------------------------------------x
 APPEARANCES:

 Stephen C. Silverberg
 Attorney for the Plaintiffs
 626 RXR Plaza
 Uniondale, NY 11556
        By:     Stephen C. Silverberg, Esq., of Counsel

 Bryan Cave LLP
 Attorneys for the Defendants
 1290 Avenue Of The Americas
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        By:     Daniel H. Lewkowicz, Esq.,
                Noah M. Weissman, Esq., of Counsel

 SPATT, District Judge:

         The Plaintiffs Ralph G. Potente (“Potente”) and Richard J. Jankura (“Jankura”)

 (collectively, the “Plaintiffs”) brought this action against the Defendant Citibank, N.A. (the

 “Defendant” or “Citibank”) for, inter alia, alleged violations of the Truth in Lending Act, 15

 U.S.C. 1601 (“TILA”).

         Presently before the Court is a motion by the Defendant to dismiss the complaint in its

 entirety pursuant to Federal Rule of Civil Procedure (“FED. R. CIV. P.” or “Rule”) 12(b)(6). For

 the following reasons, the Defendant’s motion is granted in its entirety.




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                                        I. BACKGROUND

 A. The Factual Background

        The following facts are drawn from the complaint, and for the purposes of the instant

 motion, are accepted as true.

        The Plaintiffs reside at 47 Berry Hill Road, Oyster Bay Cove, NY 11771 (the “residence”).

 The Plaintiffs have lived there since 1997. The Plaintiffs apparently had an initial mortgage of

 $1,000,000, secured by their interest in the residence. The complaint does not state who held the

 initial mortgage.

        In 2008, the Plaintiffs applied for a mortgage refinance with Citibank.          During the

 application process, Citibank ordered an appraisal of the residence. The appraisal valued the

 residence at $2,200,000. Citibank informed the Plaintiffs of the appraisal, but the Plaintiffs claim

 that they never received a copy of the appraisal. The complaint does not state precisely when the

 appraisal occurred, but it happened before the final approval of the loan.

        On April 18, 2008, the Plaintiffs executed a Consolidation, Extension, and Modification

 Agreement (the “CEMA”) with Citibank. Pursuant to the refinance, the Plaintiffs borrowed

 $700,000 from Citibank. The Plaintiffs allege that they relied upon the purportedly inflated

 appraisal of $2,200,000 when they signed the CEMA and agreed to take the loan.

        The CEMA loan was secured by the Plaintiffs’ interest in the residence. Despite the fact

 that the Plaintiffs allege that it was a mortgage refinance, it is not clear from the face of the

 complaint whether the initial mortgage was repaid. Nevertheless, the Plaintiffs allege that the

 mortgage was transferred to an unknown third party.




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          In July of 2014, the Plaintiffs “discovered” that the $2.2 million appraisal was “grossly

 inflated,” and that the “actual fair market value of the property at the time of the execution of the

 CEMA was $1,200,000.” (Compl. ¶ 8).

          In April of 2016, the Plaintiffs mailed a notice of rescission to Citibank. Citibank received

 the notice on April 22, 2016. Citibank has allegedly refused to honor the notice of rescission.

 B. The Relevant Procedural Background

          On July 15, 2016, the Plaintiffs commenced this action by filing a complaint. The

 complaint alleges four causes of action. However, one of the causes of action is merely a request

 for injunctive relief, which is not a cause of action. Miller v. Wells Fargo Bank, N.A., 994 F. Supp.

 2d 542, 558 (S.D.N.Y. 2014) (“[I]njunctions are remedies, not causes of action . . . .”). The three

 remaining causes of action are for fraud in the factum, appraisal fraud, and violation of TILA.

          The Plaintiffs did not serve the Defendant with the summons and complaint until February

 23, 2017.

          On April 14, 2017, the Defendant filed the instant motion to dismiss.

                                          II. DISCUSSION

 A. The Relevant Legal Standard

          In reviewing a motion to dismiss pursuant to Rule 12(b)(6), the Court must accept the

 factual allegations set forth in the complaint as true and draw all reasonable inferences in favor of

 the Plaintiff. See Walker v. Schult, 717 F.3d 119, 124 (2d Cir. 2013); Cleveland v. Caplaw

 Enters., 448 F.3d 518, 521 (2d Cir. 2006); Bold Elec., Inc. v. City of N.Y., 53 F.3d 465, 469 (2d

 Cir. 1995); Reed v. Garden City Union Free School Dist., 987 F. Supp. 2d 260, 263 (E.D.N.Y.

 2013).




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        Under the now well-established Twombly standard, a complaint should be dismissed only

 if it does not contain enough allegations of fact to state a claim for relief that is “plausible on its

 face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, 1974, 167 L. Ed. 2d 929

 (2007). The Second Circuit has explained that, after Twombly, the Court’s inquiry under Rule

 12(b)(6) is guided by two principles:

        First, although a court must accept as true all of the allegations contained in a
        complaint, that tenet is inapplicable to legal conclusions, and [t]hreadbare recitals
        of the elements of a cause of action, supported by mere conclusory statements, do
        not suffice. Second, only a complaint that states a plausible claim for relief survives
        a motion to dismiss and [d]etermining whether a complaint states a plausible claim
        for relief will . . . be a context-specific task that requires the reviewing court to draw
        on its judicial experience and common sense.

 Harris v. Mills, 572 F.3d 66, 72 (2d Cir. 2009) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 664, 129

 S. Ct. 1937, 1940, 173 L. Ed. 2d 868 (2009)).

        Thus, “[w]hen there are well-pleaded factual allegations, a court should assume their

 veracity and . . . determine whether they plausibly give rise to an entitlement of relief.” Iqbal, 556

 U.S. at 679.

 B. As to the Defendant’s Exhibit

        The Defendant attached one exhibit with its motion and memorandum of law—a document

 that purports to be an appraisal of the residence commissioned by Potente on December 10, 2013

 (the “December 2013 appraisal”). The December 2013 appraisal values the residence at $990,000.

 The Plaintiffs do not dispute that the document is what it purports to be. Indeed, the Plaintiffs state

 that “at the end of 2013, [Potente] sought a reduction in the principal amount of his mortgage and

 ordered the appraisal of the property. . . The appraisal was completed on December 13, 2013[,

 and was] effective December 12, 2013.” (Pl.’s Mem. of Law in Opp. at 13). Instead, the Plaintiffs

 argue that:



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          [they] did not fully grasp the significance of the appraisal value until mid-
          2014 . . . . There is nothing in the appraisal that would indicate the date when the
          plaintiff[s] would have known or should have known that the evaluation of the
          property in 2008 was improper. All [they] had was a valuation as of the end of
          2013 after the real estate market had suffered from a broad devaluation of property
          values caused by the Great Recession and the Mortgage Foreclosure Meltdown.

 (Id.).

          “When determining the sufficiency of plaintiff[’s] claim for Rule 12(b)(6) purposes,

 consideration is limited to the factual allegations in [the] complaint, documents attached to the

 complaint as an exhibit or incorporated in it by reference, matters of which judicial notice may be

 taken, or documents either in plaintiff[’s] possession or of which plaintiff[ ] had knowledge and

 relied in bringing suit.” Brass v. Am. Film Techs., Inc., 987 F.2d 142, 150 (2d Cir. 1993).

 Therefore, when a plaintiff chooses not to attach to the complaint or incorporate by reference a

 document upon which she relies and which is integral to the complaint, the court may nevertheless

 take that document into consideration in deciding a defendant’s motion to dismiss, without

 converting the motion into one for summary judgment. Cortec Indus., Inc. v. Sum Holding L.P.,

 949 F.2d 42, 47–48 (2d Cir. 1991).

          However, when a party submits additional evidence to the Court in connection with a

 motion to dismiss, beyond the scope of those allowed under Brass and Cortec, “a district court

 must either ‘exclude the additional material and decide the motion on the complaint alone’ or

 ‘convert the motion to one for summary judgment under Fed. R .Civ. P. 56 and afford all parties

 the opportunity to present supporting material.’” Friedl v. City of N.Y., 210 F.3d 79, 83 (2d Cir.

 2000) (quoting Fonte v. Bd. of Mgrs. of Cont’l Towers Condo., 848 F.2d 24, 25 (2d Cir. 1988));

 see also Fed. R. Civ. P. 12(b); 5C Charles A. Wright & Arthur R. Miller, Federal Practice and

 Procedure § 1366.




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        Here, the Court finds that the Plaintiffs possessed the appraisal, and either relied upon or

 should have relied upon the appraisal in bringing suit. The Court uses the phrase “should have

 relied,” because, as discussed below, the December 2013 appraisal put the Plaintiffs on notice as

 to the Defendant’s alleged fraud. That is, the Plaintiffs “discovered” the alleged fraud no later

 than December 2013.

        Accordingly, the Court will consider the December 2013 appraisal without converting the

 motion into one for summary judgment.

 C. As to the Plaintiffs’ Claims

        1. Fraud in the Factum

                a. The Applicable Law

        “Fraud in the factum occurs when the maker of the note is tricked into believing that which

 he is signing is something other than a promissory or obligatory note. . . . [It] occurs in those rare

 cases where the misrepresentation is regarded as going to the very character of the proposed

 contract itself, as when one party induces the other to sign a document by falsely stating that it has

 no legal effect.” Revak v. SEC Realty Corp., 18 F.3d 81, 91 (2d Cir. 1994) (internal citations,

 quotation marks, and alterations omitted).

        Relevant here, “[b]y contrast, fraud in the inducement consists of misrepresentations that

 cause the maker of the note to enter the transaction.” Id. (internal citations and quotation marks

 omitted).

        Under the New York C.P.L.R., a plaintiff must bring a claim for fraud within six years

 from the date of the alleged fraud, or two years from the time the plaintiff could have discovered

 the fraud with reasonable diligence. N.Y. C.P.L.R. § 213(8); see also id. at § 203(g) (“[T]he time

 within which an action must be commenced is computed from the time when facts were discovered



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 or from the time when facts could with reasonable diligence have been discovered, or from either

 of such times, the action must be commenced within two years after such actual or imputed

 discovery or within the period otherwise provided, computed from the time the cause of action

 accrued, whichever is longer.”); Gonzales v. Nat'l Westminster Bank PLC, 847 F. Supp. 2d 567,

 570 (S.D.N.Y. 2012) (“Under New York law, an action based on fraud must be brought within six

 years of the commission of the alleged fraud, or two years from when a plaintiff was aware (had

 specific notice) or should have been aware of enough facts such that they could have discovered

 the fraud with reasonable diligence (had ‘inquiry notice’). This is known as the ‘discovery rule.’”

 (citing N.Y. C.P.L.R. §§ 213(8), 203(g)).

         However, claims for fraud in the factum are not subject to N.Y. C.P.L.R. § 213(8). See

 Faison v. Lewis, 25 N.Y.3d 220, 225–231, 32 N.E.3d 400 (holding that contracts that are void ab

 initio, such as those where fraud in the factum is shown, are not subject to the statute of

 limitations), reargument denied, 26 N.Y.3d 946, 38 N.E.3d 806 (N.Y. 2015).

                 b. Application to the Facts

         It is clear that the Plaintiffs have attempted to circumvent the statute of limitations by

 pleading that this is an instance of fraud in the factum rather than one of fraud in the inducement.

 It is similarly clear that the Plaintiffs cannot sustain a cause of action for fraud in the factum.

         The Plaintiffs do not dispute that they knew that they were signing a promissory note. (See

 Compl. ¶ 21 (“On April 18, 2008, . . . [the] Plaintiff executed a promissory note with

 CITIBANK.”)). The Plaintiffs do not allege that the Defendant misrepresented “the very character

 of the proposed contract itself,” or that it induced the Plaintiffs “to sign a document by falsely

 stating that it has no legal effect.” Revak, 18 F.3d at 91; see also id. (“[P]laintiffs nevertheless

 were signing just what they thought they were signing: a note and a deed. Therefore, the fraud



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 claim against the Banks, as holders in due course, was properly dismissed.” (internal citations and

 quotation marks omitted)); Torres v. Major Auto. Grp., No. 13-CV-0687 NGG CLP, 2014 WL

 4802985, at *6 (E.D.N.Y. Sept. 25, 2014) (“Fraud in the factum occurs when the maker of a note

 is tricked into believing that which he is signing is something other than a promissory or obligatory

 note.” (internal citations and alterations omitted)); Provident Bank v. Cmty. Home Mortg. Corp.,

 498 F. Supp. 2d 558, 574 (E.D.N.Y. 2007) (“Where, as here, there is no evidence that the

 mortgagors were unaware that they were signing mortgage notes, or were falsely informed as to

 the nature of the notes, fraud in the factum cannot be asserted.”); In re Joe Sipala & Son Nursery

 Corp., 214 B.R. 281, 288 (Bankr. E.D.N.Y. 1997) (holding that fraud in the factum “is only

 available when trickery in the actual issuance of the original check is demonstrated,” such as where

 “the maker of the note could not read or understand the English language or did not have a

 reasonable opportunity to be informed of what he was signing”) (internal citations omitted);

 Dalessio v. Kressler, 6 A.D.3d 57, 61, 773 N.Y.S.2d 434, 436 (2d Dep’t 2004) (“The plaintiff does

 not dispute that he knowingly executed a certified check . . . . Accordingly, the nature of [the]

 alleged fraud is fraud in the inducement, not fraud in the factum.”).

        The true cause of action that the Plaintiffs should have pursued is fraud in the inducement,

 as they claim that they relied upon the alleged misrepresentations made by Citibank when they

 signed the promissory note. (See Compl. ¶ 10 (“The Plaintiff relied on the honesty of the Lender

 and the independent appraisal of Lighthouse Appraisals in agreeing to enter into the loan.”)).

 “Although [the Plaintiff] argues . . . that the complaint alleges fraud in the factum, the complaint

 actually asserts—both in form and substance—fraud in the inducement. Indeed, [the Plaintiff’s]

 allegation[s] . . . are a quintessential example of the latter type of fraud. . . . [T]he factual

 allegations in the complaint have nothing to do with that type of claim.” Ipcon Collections LLC



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 v. Costco Wholesale Corp., 698 F.3d 58, 62 (2d Cir. 2012) (internal citations and footnote

 omitted)).

        However, the Plaintiffs appear to have realized that they would be barred by the statute of

 limitations from bringing a cause of action for fraud in the inducement. The Plaintiffs did not file

 the complaint in this action until more than eight years after the allegedly fraudulent inducement.

 Even if the Court accepted the Plaintiffs’ argument that they could not have discovered the

 fraudulent activities until much later, the Plaintiffs received an appraisal in December of 2013

 which showed that the residence was worth much less than $2.2 million. At that point, they were

 on notice, and had “discovered” the alleged fraud, and had to bring an action for fraud before

 December of 2015. See, e.g, N.Y. C.P.L.R. §§ 213(8), 203(g) (stating that actions for fraud must

 be brought within two years from when a plaintiff was aware of the fraud or had enough facts that

 they could have discovered the fraud with reasonable diligence); see also Gonzales, 847 F. Supp.

 2d at 570 (same).

        The Plaintiffs attempted to circumvent the statute of limitations by pleading a cause of

 action for fraud in the factum, but as stated above, that cause of action has not been properly plead

 and cannot be sustained.

        However, the Plaintiffs would not have been able to plead a cause of action for fraud in the

 inducement even if they had filed a cause of action before the statute of limitations had run. This

 is because “[t]he long-established rule in New York is that statements concerning the value of real

 property are generally not actionable under a theory of fraud or fraudulent inducement.” Newby

 v. Bank of Am. Corp., No. 12-CV-614 SJF AKT, 2013 WL 940943, at *4 (E.D.N.Y. Mar. 8, 2013)

 (internal citations and quotation marks omitted). There are two reasons for this rule: first,

 “representations as to value alone are generally matters of opinion upon which no detrimental



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  reliance can occur”; and second, “the doctrine of caveat emptor applies to real estate transactions

  such that a buyer has a duty to satisfy himself or herself of the quality of a bargained purchase

  price without trusting a seller.” Simms v. Biondo, 816 F. Supp. 814, 819–20 (E.D.N.Y. 1993)

  (citations omitted). While courts have found exceptions to the rule of caveat emptor, the Plaintiffs

  do not allege any facts that would qualify for those exceptions. See Barkley v. United Homes,

  LLC, No. 04–CV–875, 2012 WL 2357295, at *5 (E.D.N.Y. June 20, 2012) (stating that “[c]ourts

  have found exceptions to the rule of caveat emptor . . . where sellers concealed facts or induced

  buyers to refrain from making independent inquiries into the terms of a real estate deal,” including

  where “defendants deliberately steered plaintiffs to other members of the conspiracy in order to

  prevent their discovery of the true value of the properties at issue”). Therefore, even if the

  Plaintiffs had brought a claim for fraudulent inducement before the statute of limitations had

  expired, it would have to be dismissed.

         Finally, the Plaintiffs’ claim for fraud in the factum cannot be saved by their allegation that

  “the identity of the true lender was not disclosed to the Plaintiffs at the time of the loan

  application . . . .” (Compl. ¶ 26). This is a conclusory statement. Furthermore, it does not change

  the fact that the Plaintiffs knew that they were signing a promissory note with legal consequences.

  The Plaintiffs allege that Citibank was a party to the promissory note, and that Citibank continues

  to seek repayment from the Plaintiffs.

         Therefore, the Plaintiffs have failed to state a claim for fraud in the factum. Accordingly,

  the Defendant’s motion to dismiss that claim pursuant to Rule 12(b)(6) is granted.




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         2. Appraisal Fraud

                 a. The Relevant Law

         “There is no independent cause of action for “appraisal fraud.” Newby, 2013 WL 940943,

  at *3 n.6. Therefore the Court will review the Plaintiffs’ allegations related to the fraudulent

  appraisal under a theory of common law fraud. See id.

         To state a claim for fraud in New York, a plaintiff must sufficiently allege: “(1) a

  misrepresentation or omission of material fact; (2) which the defendant knew to be false; (3) which

  the defendant made with the intention of inducing reliance; (4) upon which the plaintiff reasonably

  relied; and (5) which caused injury to the plaintiff.” Wynn v. AC Rochester, 273 F.3d 153, 156 (2d

  Cir. 2001).

                 b. Application to the Plaintiffs’ Claim

         As common law fraud is subject to the statute of limitations contained in N.Y. C.P.L.R. §

  213(8) and § 203(g), the Court’s analysis of the Plaintiffs’ unalleged claim for fraud in the

  inducement applies with equal force here.

         Therefore, the Plaintiffs’ cause of action for fraud based upon the Defendant’s appraisal is

  barred both by the statute of limitations, as well as by the doctrine of caveat emptor. See Newby,

  2013 WL 940943, at *5 (“[A] representation by BOA regarding the value of the property would

  have been an opinion, not a representation of fact, and plaintiffs had an independent duty to form

  their own opinion. Because plaintiffs have not alleged facts indicating that BOA prevented them

  from performing their own investigation into the value of the property, BOA’s [appraisal] opinion

  cannot form the basis for a fraud claim.” (citing Weaver v. IndyMac Fed. Bank, FSB, No. 09–CV–

  5091, 2011 WL 4526404, at *4 (S.D.N.Y. Sept. 29, 2011) (dismissing claim for appraisal fraud

  where the “[p]laintiff fail[ed] to sufficiently state that [d]efendant knew the appraisal was inflated,



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  that she intended to defraud [p]laintiff, and that [p]laintiff relied on [d]efendant’s appraisal in

  agreeing to the allegedly inflated purchase price”))).

         Accordingly, the Defendant’s motion to dismiss the Plaintiff’s claim for appraisal fraud

  pursuant to Rule 12(b)(6) is granted.

         3. Violation of TILA’s Rescission Provision

                 a. The Relevant Law

         Section 1635 of TILA provides for an obligor with a right of rescission. It states:

         Except as otherwise provided in this section, in the case of any consumer credit
         transaction . . . in which a security interest, including any such interest arising by
         operation of law, is or will be retained or acquired in any property which is used as
         the principal dwelling of the person to whom credit is extended, the obligor shall
         have the right to rescind the transaction until midnight of the third business day
         following the consummation of the transaction or the delivery of the information
         and rescission forms required under this section together with a statement
         containing the material disclosures required under this subchapter, whichever is
         later, by notifying the creditor, in accordance with regulations of the Bureau, of his
         intention to do so. The creditor shall clearly and conspicuously disclose, in
         accordance with regulations of the Bureau, to any obligor in a transaction subject
         to this section the rights of the obligor under this section. The creditor shall also
         provide, in accordance with regulations of the Bureau, appropriate forms for the
         obligor to exercise his right to rescind any transaction subject to this section.

  15 U.S.C. § 1635(a). Relevant here, section 1635 contains a “time limit for [the] exercise of [the]

  right.” Id. at § 1635(f). It provides that:

         An obligor’s right of rescission shall expire three years after the date of
         consummation of the transaction or upon the sale of the property, whichever occurs
         first, notwithstanding the fact that the information and forms required under this
         section or any other disclosures required under this part have not been delivered to
         the obligor, except that if (1) any agency empowered to enforce the provisions of
         this subchapter institutes a proceeding to enforce the provisions of this section
         within three years after the date of consummation of the transaction, (2) such
         agency finds a violation of this section, and (3) the obligor’s right to rescind is based
         in whole or in part on any matter involved in such proceeding, then the obligor’s
         right of rescission shall expire three years after the date of consummation of the
         transaction or upon the earlier sale of the property, or upon the expiration of one
         year following the conclusion of the proceeding, or any judicial review or period
         for judicial review thereof, whichever is later.

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  Id. (emphasis added)

         The Supreme Court has explicitly stated that “§ 1635(f) completely extinguishes the right

  of rescission at the end of the 3-year period.” Beach v. Ocwen Fed. Bank, 523 U.S. 410, 412, 118

  S. Ct. 1408, 1409, 140 L. Ed. 2d 566 (1998); see also Jesinoski v. Countrywide Home Loans, Inc.,

  -- U.S. --, 135 S. Ct. 790, 791, 190 L. Ed. 2d 650 (2015) (“The Truth in Lending Act gives

  borrowers the right to rescind certain loans for up to three years after the transaction is

  consummated. . . . [S]o long as the borrower notifies within three years after the transaction is

  consummated, his rescission is timely.”).

                 b. Application to the Facts

         The Plaintiffs mailed their notice of rescission eight years after they consummated the

  relevant transaction with the Defendant. The Plaintiffs do not present any case law that would

  allow this Court to find that their claims under TILA are not barred by the limitations clause

  contained in the statute. This Court must, of course, follow Supreme Court precedent.

         Therefore, the Plaintiffs did not have a right to rescind the transaction with Citibank, and

  they cannot sustain a cause of action for a violation of TILA. Accordingly, the Defendant’s motion

  to dismiss the Plaintiffs’ TILA claim pursuant to Rule 12(b)(6) is granted.

         4. Injunctive Relief

         The Plaintiffs do not respond to the Defendant’s argument that a request for a remedy such

  as an injunction is not a cause of action. The Defendant is correct that “injunctions are remedies,

  not causes of action,” Miller, 994 F. Supp. 2d at 558, and therefore, the Plaintiffs’ fourth “cause

  of action” is dismissed pursuant to Rule 12(b)(6).




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  D. As to the Plaintiffs’ Request for Leave to Amend

         At the end of their memorandum of law in opposition, the Plaintiffs make a short request

  to amend their complaint. (See Mem. of Law in Opp. at 24 (“In the event that any cause of action

  is dismissed by the court, the plaintiff asks this court for leave to replead any such dismissed cause

  of action.”)). The Plaintiffs do not include a proposed amended complaint, state how any of their

  claims could be revived by further amendment, or otherwise set forth a basis for such relief.

         Not only is this an improper request for leave to file an amended complaint, Koehler v.

  Metro. Transp. Auth., 214 F. Supp. 3d 171, 178 (E.D.N.Y. 2016) (Spatt, J.) (“Courts have held

  that a ‘bare request to amend a pleading’ contained in a brief, which does not also attach the

  proposed amended pleading, is improper under FED. R. CIV. P. 15.” (collecting cases)), but because

  the Court has found that all of the Plaintiffs’ claims are barred by various statutes of limitations,

  any amendments would be futile, see, e.g., Burch v. Pioneer Credit Recovery, Inc., 551 F.3d 122,

  126 (2d Cir. 2008) (per curiam) (stating that a court should deny leave to amend “in instances of

  futility, undue delay, bad faith or dilatory motive, repeated failure to cure deficiencies by

  amendments previously allowed, or undue prejudice to the nonmoving party.”). Furthermore, as

  stated above, even if the Plaintiffs had brought this action within the statutory period, they would

  be unable to sustain claims for fraud based on an allegedly inflated appraisal.

         Therefore, the Plaintiffs’ request for leave to amend is denied.

                                         III. CONCLUSION

         For the reasons stated above, the Defendant’s motion to dismiss the Plaintiffs’ complaint

  pursuant to Rule 12(b)(6) is granted in its entirety. The Clerk of the Court is respectfully directed

  to close the case.




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          SO ORDERED:

   Dated: Central Islip, New York

          October 17, 2017

                                        ____/s/ Arthur D. Spatt_____

                                            ARTHUR D. SPATT

                                         United States District Judge




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